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IN THE UNITED STATES DISTRICT COURT c
FoR THE wEsTERN Dls'rmcr oF TENNESSEE 05 JUL le p" 3; 55

WESTERN DIVISION
T\FUMS M. Ul§lm
crest us mci
* WJ‘D G§ l,i‘~*_ :\.*,LUPHS
UNITED STATES OF AMERICA,
*
Plaintiff,
*
vs. No. 04-20066-M1
*
LEE MORROW,
*
Deferidant.

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the Government's motion to continue the sentencing of

defendant, Lee Morrow, currently set for July 20, 2005, is hereby GRANTED, and the sentencing

is hereby reset to 5_?£*’. , in 2005, at Z'.‘-{SA.M _
/
DONE at Memphis, Termessee, this la day of `X!~\r, 2005,

nn m-QM
/, @¢TED sTATEs DISTRICT JUDGE

APPROV ED :

 

Thornas A. Colthurst
Assistant U.S. Attorney

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with ama 55 and/or az(b) FRch on ' "!'O

 

ISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

